Case 1-22-11558-rmb       Doc 188 Filed 08/21/24 Entered 08/21/24 09:11:02                   Desc
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Mark Harring
Standing Chapter 12 & 13 Trustee

Mail CORRESPONDENCE to:                                      Mail Chapter 13 PAYMENTS to :
                                                             Please write case # on all payments
122 W Washington Suite 500                                   MARK HARRING CH 13 TRUSTEE
Madison, WI 53703-2758                                       P.O. BOX 88004
Phone: (608) 256-4320                                        CHICAGO, IL 60680 -1004
Fax: (608) 256-2355
Website: http://www.ch13wdw.org                              Email: info@ch13wdw.org

August 21, 2024

The Honorable Rachel M. Blise
120 N Henry
Madison, WI 53703-2559

Re:    Jennifer & Israel R. McKinney
       Case # 22-11558-13

Dear Judge Blise:

At the August 8th hearing, you stayed dismissal until August 22, 2024, to allow additional time tor
the joint debtor to provide his 2023 tax return. That return has been received, therefore, your order
has been resolved.

If you have any questions or need anything further please feel free to contact our office.

Sincerely,

/s/ Mark Harring
Mark Harring
Standing Chapter 13 Trustee

MWH /eb

cc:    ATTORNEY GREG P. PITTMAN
